Case 5:22-cv-01896-MWF-JC Document 38 Filed 06/21/24 Page 1 of 1 Page ID #:411



 1

 2
                                                                                                                                                 JS-6
 3

 4
 5

 6

 7

 8                                           UNITED STATES DISTRICT COURT
 9                                        CENTRAL DISTRICT OF CALIFORNIA
 10

 11   SHANE GRIMES,                                                                  Case No. 5:22-cv-01896-MWF(JCx)
 12                           Plaintiff,
                                                                                    JUDGMENT
 13               v.
 14   FORD MOTOR COMPANY; and
      DOES 1 through 10, inclusive
 15
                              Defendant.
 16

 17

 18
       TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 19
                  Plaintiff SHANE GRIMES (“Plaintiff”) accepted FORD MOTOR
 20
       COMPANY’s Offer of Judgment Pursuant to Fed. R. Civ. P. 68 February 21, 2024.
 21
                  Accordingly, the Court enters JUDGMENT in favor of Plaintiff in the amount
 22
       of $130,396.40, pursuant to the terms of the Rule 68 Offer.
 23
                  IT IS SO ORDERED.
 24

 25
       Dated: June 21, 2024
 26
                                                                              MICHAEL W. FITZGERALD
 27                                                                           United States District Judge
 28

                                                                                    1
       ___________________________________________________________________________________________________________________________________________________________
                                                                         JUDGMENT
